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  UNITED STATES BANKRUPTCY COURT
  EASTERN DISTRICT OF WASHINGTON
  PDF FILE WITH AUDIO FILE ATTACHMENT

        2018-03197
        GIGA WATT INC



        Case Type :                    bk
        Case Number :                  2018-03197
        Case Title :                   GIGA WATT INC

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